Case 1:22-cv-00304-HYJ-RSK      ECF No. 41, PageID.1492   Filed 02/01/23   Page 1 of
                                         10



               IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF MICHIGAN


  TIMOTHY BOZUNG, individually and on
  behalf of all others similarly situated,     Case No. 22-cv-00304-HYJ-RSK
                                               Honorable Hala Y. Jarbou
                   Plaintiff,
                                               Magistrate Judge Ray S. Kent

       v.

  CHRISTIANBOOK, LLC f/k/a
  CHRISTIAN BOOK DISTRIBUTORS
  CATALOG, LLC,

                   Defendant.

              PLAINTIFF’S MOTION FOR LEAVE TO FILE A
               NOTICE OF SUPPLEMENTAL AUTHORITY
Case 1:22-cv-00304-HYJ-RSK       ECF No. 41, PageID.1493        Filed 02/01/23   Page 2 of
                                          10



        Plaintiff, individually and on behalf of all others similarly situated, files this

 Motion for Leave to File a Notice of Supplemental Authority in support of Plaintiff’s

 Opposition (ECF No. 24) to Defendant’s Motion and Brief to Dismiss (ECF Nos.

 18, 19):

        1.    On January 26, 2023, the Michigan Court of Appeals issued a published

 decision on a case similarly concerning the effect of the Michigan Supreme Court’s

 COVID-19 emergency administrative orders on determining court filing deadlines.

 See Carter v. DTN Mgmt. Co., --- N.W.2d ---, 2023 WL 439760 (Mich. Ct. App.

 Jan. 26, 2023) (examining tolling of statute of limitations under Administrative

 Orders 2020-3 and 2020-18). Case Attached as 1-A.

        2.    In Carter, the defendant argued and the trial court held that AO 2020-

 3 applied only to cases whose filing deadlines expired during the state of emergency.

 Carter, 2023 WL 439760, at *2. The defendant in Carter also argued that the

 Michigan Supreme Court has no authority to modify or toll the statute of limitations.

 Id. at *4.

        3.    Defendant here makes similar arguments in its motion to dismiss

 briefing. See ECF No. 19, PageID.1169; ECF No. 26, PageID.1234-1235.

        4.    The Carter court, however, in this published Michigan Court of

 Appeals case, holds that these Administrate Orders “broadly excluded any day

 within the state of emergency ‘for purposes of determining the deadline applicable

                                            1
Case 1:22-cv-00304-HYJ-RSK       ECF No. 41, PageID.1494        Filed 02/01/23   Page 3 of
                                          10



 to the commencement of all civil and probate case types under MCR 1.108(1).’”

 Carter, 2023 WL 439760, at *3 (emphasis in Carter) (citing AO 2020-18).

       5.     The Carter court explained that, “[c]ontrary to the trial court’s

 conclusion, the Supreme Court did not exclude only deadlines that fell during the

 state of emergency. Rather, it more broadly excluded any day within the state of

 emergency ‘for purposes of determining the deadline applicable to the

 commencement of all civil and probate case types under MCR 1.108(1).’” Carter,

 2023 WL 439760, at *3 (citing AO 2020-3, emphasis in Carter); see also id.

 (“[t]here is no language in AO 2020-18 limiting [it] to those whose filing deadline

 fell within the state of emergency.”).

       6.     Thus, after properly “applying the [COVID tolling] administrative

 orders,” the court in Carter “conclude[d] that plaintiff’s complaint was timely filed.”

 Carter, 2023 WL 439760, at *3 (“On March 10, 2020, plaintiff had 10 months left

 to file her complaint. Accordingly, she had that same amount of time to file

 beginning on June 20, 2020[.]”).

       7.     The arguments Defendant makes regarding COVID tolling in its

 motion to dismiss briefing are therefore foreclosed by the decision in Carter. Carter

 conclusively confirms that the class period in this case spans from December 21,

 2015 through July 30, 2016. See ECF No. 24, PageID.1203 (correctly specifying

 such period) & id., n.3 (detailing time period calculation).

                                           2
Case 1:22-cv-00304-HYJ-RSK        ECF No. 41, PageID.1495        Filed 02/01/23    Page 4 of
                                           10



        8.    The Carter court also rejected the notion that the Administrative Orders

 are ineffective because the Michigan Supreme Court has no authority to modify or

 toll the statute of limitations. Carter held that “[t]he Supreme Court has

 constitutional authority to ‘establish, modify, amend, and simplify the practice and

 procedure in all courts of this state.’” Id. at *4 (citing Mich. Const. 1963, art. 6, § 5).

       9.     The proposed Notice of Supplemental Authority is attached hereto as

 Exhibit 1.

       10.    On January 31, 2023, counsel for Plaintiffs made contact with counsel

 for Defendant regarding concurrence in this motion. Counsel for Plaintiffs was

 unable to obtain concurrence.

       WHEREFORE, Plaintiff requests that the Court grant Plaintiff’s Motion for

 leave to file the attached Notice of Supplemental Authority.


 Dated: February 1, 2023                  Respectfully submitted,
                                          /s/ E. Powell Miller
                                          E. Powell Miller (P39487)
                                          THE MILLER LAW FIRM, P.C.
                                          950 W. University Drive, Suite 300
                                          Rochester, MI 48307
                                          Tel: 248-841-2200
                                          epm@millerlawpc.com

                                          Joseph I. Marchese
                                          Philip L. Fraietta (P85228)
                                          BURSOR & FISHER, P.A.
                                          888 Seventh Avenue
                                          New York, New York 10019
                                          Tel: 646.837.7150
                                          Fax: 212.989.9163

                                             3
Case 1:22-cv-00304-HYJ-RSK   ECF No. 41, PageID.1496    Filed 02/01/23   Page 5 of
                                      10



                                    jmarchese@bursor.com
                                    pfraietta@bursor.com

                                    Frank S. Hedin
                                    David W. Hall
                                    HEDIN HALL LLP
                                    1395 Brickell Avenue, Suite 1140
                                    Miami, Florida 33131
                                    Tel: 305.357.2107
                                    Fax: 305.200.8801
                                    fhedin@hedinhall.com
                                    dhall@hedinhall.com
                                    Counsel for Plaintiff and the Putative Class




                                      4
Case 1:22-cv-00304-HYJ-RSK      ECF No. 41, PageID.1497   Filed 02/01/23   Page 6 of
                                         10



               IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF MICHIGAN


  TIMOTHY BOZUNG, individually and on
  behalf of all others similarly situated,     Case No. 22-cv-00304-HYJ-RSK
                                               Honorable Hala Y. Jarbou
                   Plaintiff,
                                               Magistrate Judge Ray S. Kent

       v.

  CHRISTIANBOOK, LLC f/k/a
  CHRISTIAN BOOK DISTRIBUTORS
  CATALOG, LLC,

                   Defendant.

         BRIEF IN SUPPORT OF PLAINTIFF’S MOTION FOR
     LEAVE TO FILE A NOTICE OF SUPPLEMENTAL AUTHORITY
Case 1:22-cv-00304-HYJ-RSK    ECF No. 41, PageID.1498   Filed 02/01/23   Page 7 of
                                       10



                   STATEMENT OF ISSUE PRESENTED

       1.    Whether Plaintiff should be granted leave to file a Notice of

 Supplemental Authority in support of Plaintiff’s Opposition (ECF No. 24) to

 Defendant’s Motion and Brief to Dismiss (ECF Nos. 18, 19)?

                   Plaintiff Answers: Yes.




                                        i
Case 1:22-cv-00304-HYJ-RSK   ECF No. 41, PageID.1499   Filed 02/01/23   Page 8 of
                                      10



                   MOST CONTROLLING AUTHORITY

    • Carter v. DTN Mgmt. Co., --- N.W.2d ---, 2023 WL 439760 (Mich.
      Ct. App. Jan. 26, 2023)




                                      ii
Case 1:22-cv-00304-HYJ-RSK      ECF No. 41, PageID.1500     Filed 02/01/23   Page 9 of
                                         10



       For the reasons set forth in the above Motion, Plaintiff, by and through the

 undersigned attorneys, requests that the Court grant Plaintiff’s Motion for Leave to

 File a Notice of Supplemental Authority in support of Plaintiff’s Opposition (ECF

 No. 24) to Defendant’s Motion and Brief to Dismiss (ECF Nos. 18, 19) (proposed

 notice attached as Exhibit 1 to Plaintiff’s Motion).


 Dated: February 1, 2023                Respectfully submitted,
                                        /s/ E. Powell Miller
                                        E. Powell Miller (P39487)
                                        THE MILLER LAW FIRM, P.C.
                                        950 W. University Drive, Suite 300
                                        Rochester, MI 48307
                                        Tel: 248-841-2200
                                        epm@millerlawpc.com
                                        Joseph I. Marchese
                                        Philip L. Fraietta (P85228)
                                        BURSOR & FISHER, P.A.
                                        888 Seventh Avenue
                                        New York, New York 10019
                                        Tel: 646.837.7150
                                        Fax: 212.989.9163
                                        jmarchese@bursor.com
                                        pfraietta@bursor.com
                                        Frank S. Hedin
                                        David W. Hall
                                        HEDIN HALL LLP
                                        1395 Brickell Avenue, Suite 1140
                                        Miami, Florida 33131
                                        Tel: 305.357.2107
                                        Fax: 305.200.8801
                                        fhedin@hedinhall.com
                                        dhall@hedinhall.com
                                        Counsel for Plaintiff and the Putative Class



                                           1
Case 1:22-cv-00304-HYJ-RSK      ECF No. 41, PageID.1501     Filed 02/01/23   Page 10 of
                                         10



                           CERTIFICATE OF SERVICE

       I hereby certify that on February 1, 2023, I electronically filed the foregoing

 documents using the Court’s electronic filing system, which will notify all counsel

 of record authorized to receive such filings.



                                        /s/ E. Powell Miller
                                        E. Powell Miller (P39487)
                                        THE MILLER LAW FIRM, P.C.
                                        950 W. University Dr., Ste. 300
                                        Rochester, MI 48307
                                        Tel: (248) 841-2200
                                        epm@millerlawpc.com
